Case 17-01113-jw         Doc 49     Filed 07/06/20 Entered 07/06/20 15:33:35               Desc Main
                                    Document      Page 1 of 5

                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA

 IN RE:                                          ) CASE NO.: 17-01113-jw
                                                 )
 Desiree Diamond Hosey aka Desiree D.            ) CHAPTER 13
 Hosey fka Desiree Williams fdba Desire          )
 Enterprise,                                     )
                                                 )
                        Debtor(s)
                                                 )         NOTICE OF MOTION
                                                 )   AND MOTION FOR MORATORIUM
 Address: PO Box 61304                           )
          North Charleston, SC 29419             )
                                                 )
 Last four digits on Social-Security or          )
 Individual Tax-Payer-Identification (ITIJ)      )
 No(s)., (if any): 8472

TO:     TRUSTEES AND ALL CREDITORS

         PLEASE TAKE NOTICE THAT unless written objection, conforming to Local Rule 9014,
is made to the attached motion and is served upon the undersigned counsel for the debtor and filed
with the clerk of court within twenty-one (21) days from the date of service of this notice (see attached
certificate of service), an order may be entered, without a court hearing, granting the relief sought in
the attached motion. A copy of the motion and proposed order accompanies this notice.

       TAKE FURTHER NOTICE that any response, return, and/or objection should be filed with
the Clerk of Court no later than twenty-one (21) days from service of the motion and a copy
simultaneously served on all parties in interest.

        TAKE FURTHER NOTICE that no hearing will be held on this motion or application unless
a response, return, and/or objection is timely filed and served, in which case, the Court will conduct
a hearing on (consent) August 5, 2020 at 10:00 A.M., at 145 King Street, Room 225, Charleston,
SC. No further notice of this hearing will be given.


July 6, 2020

FILE OBJECTION WITH:
Clerk, U.S. Bankruptcy Court                            /s/ Richard A. Steadman, Jr._________
1100 Laurel Street                                      RICHARD A. STEADMAN, JR.
Columbia, SC 29201                                      Steadman Law Firm, P.A.
                                                        Post Office Box 60367
                                                        North Charleston, SC 29419-0367
                                                        (843) 529-1100
                                                        rsteadman@steadmanlawfirm.com
                                                        District Court I.D. #4284
                                                        Attorney for Debtor(s)
Case 17-01113-jw        Doc 49     Filed 07/06/20 Entered 07/06/20 15:33:35             Desc Main
                                   Document      Page 2 of 5


                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

IN RE:                                          ) CASE NO.: 17-01113-jw
                                                )
Desiree Diamond Hosey aka Desiree D.            ) CHAPTER 13
Hosey fka Desiree Williams fdba Desire          )
Enterprise,                                     )
                                                )
                       Debtor(s)
                                                )         NOTICE OF MOTION
                                                )   AND MOTION FOR MORATORIUM
Address: PO Box 61304                           )
         North Charleston, SC 29419             )
                                                )
Last four digits on Social-Security or          )
Individual Tax-Payer-Identification (ITIJ)      )
No(s)., (if any): 8472                          )

        Pursuant to 11 U.S.C.S. §1329, the above-named debtor by and through the undersigned
attorney, hereby moves that this Honorable Court grant her a moratorium and suspend payments
under the Debtor’s Chapter 13 plan to the end of her plan, which was confirmed by order to this Court
filed on July 6, 2017.

        Debtor requests that her payments be suspended for four (4) months, adding those months to
the end of her plan.

        Debtor requests suspension of payments for the following reasons: Debtor has suffered a
reduction of income due to Covid-19 and requests a 4-month moratorium in payments pursuant
to the CARES Act.

        Debtor has made Trustee payments as required from April 2017 through April 2020. Debtor
would request that the Court consider her special circumstances and past history of timely payments
in allowing this Motion.

July 6, 2020
North Charleston, South Carolina
                                                      /s/ Richard A. Steadman, Jr.__________
                                                      RICHARD A. STEADMAN, JR.
                                                      Steadman Law Firm, P.A.
                                                      Post Office Box 60367
                                                      North Charleston, SC 29419
                                                      (843) 529-1100
                                                      rsteadman@steadmanlawfirm.com
                                                      District Court I.D. #4284
                                                      ATTORNEY FOR THE DEBTOR(S)
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                                    Document      Page 3 of 5



                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA

 IN RE:                                         ) CASE NO.: 17-01113-jw
                                                )
 Desiree Diamond Hosey aka Desiree D.           ) CHAPTER 13
 Hosey fka Desiree Williams fdba Desire         )
 Enterprise,                                    )
                                                )
                        Debtor(s)
                                                )         NOTICE OF MOTION
                                                )                  AND
 Address: PO Box 61304                          )     MOTION FOR MORATORIUM
          North Charleston, SC 29419            )
                                                )
 Last four digits on Social-Security or         )
 Individual Tax-Payer-Identification (ITIJ)     )
 No(s)., (if any): 8432                         )

                                   AFFIDAVIT OF MAILING

                                              ******

       This is to certify that on this 6th day of July 2020 I have caused to be served upon the Trustee
and the persons named below the Notice of Motion and Motion for Moratorium, Motion for
Moratorium and Proposed Order of the Debtors in the foregoing matter by electronic notice or by
placing copies of the same in the United States Mail, postage prepaid, in envelopes addressed as
follows:


                                               /s/ Catherine Emory
                                               Catherine Emory, Legal Assistant to
                                               RICHARD A. STEADMAN, JR.
                                               Steadman Law Firm, P.A.
                                               Post Office Box 60367
                                               North Charleston, SC 29419
                                               District Court I.D. #4284
                                               (843) 529-1100
                                               Attorney for the Debtor(s)


Via Electronic Notice Only:

JAMES M. WYMAN
CHAPTER 13 TRUSTEE

OFFICE OF THE U.S. TRUSTEE
                Case 17-01113-jw          Doc 49   Filed 07/06/20          Entered 07/06/20 15:33:35      Desc Main
Label Matrix for local noticing                AargonDocument
                                                      Agency           Page 4 of 5           CAB Collections
0420-2                                         8668 Spring Mountain Rd                       Po Box 62889
Case 17-01113-jw                               Las Vegas NV 89117-4132                       North Charleston SC 29419-2889
District of South Carolina
Charleston
Mon Jul 6 15:31:25 EDT 2020
Capital One                                    Charleston County EMS                         Comprehensive Dentistry
Attn: General Correspondence/Bankruptcy        PO Box 863                                    1470 Tobias Gadson Blvd
Po Box 30285                                   Lewisville NC 27023-0863                      Suite 100
Salt Lake City UT 84130-0285                                                                 Charleston SC 29407-4707


Fed Loan Servicing                             Fed Loan Sevicing                             Fedloan
Po Box 69184                                   Po Box 69184                                  Po Box 69184
Harrisburg PA 17106-9184                       Harrisburg PA 17106-9184                      Harrisburg PA 17106-9184



Desiree Diamond Hosey                          MUSC                                          Sean P. Markham
PO Box 61304                                   1 Poston Rd, Ste 350                          Markham Law Firm, LLC
North Charleston, SC 29419-1304                Charleston SC 29407-3431                      PO Box 20074
                                                                                             Charleston, SC 29413-0074


Medical University of South Carolina           Navient                                       Navient Solutions, Inc. on behalf of
PO Box 932933                                  Attn: Bankruptcy                              United Student Aid Funds, Inc.
Atlanta GA 31193-2933                          Po Box 9500                                   Attn: Bankruptcy Litigation Unit E3149
                                               Wilkes-Barr PA 18773-9500                     PO Box 9430
                                                                                             Wilkes Barre, PA 18773-9430

Ocwen Loan Servicing, LLC                      PRA Receivables Management, LLC               (p)PORTFOLIO RECOVERY ASSOCIATES LLC
PO Box 6723                                    PO Box 41021                                  PO BOX 41067
Springfield OH 45501-6723                      Norfolk, VA 23541-1021                        NORFOLK VA 23541-1067



Roper Hospital                                 Steven L. Smith                               Smith/Closser, PA
PO Box 650292                                  Smith & Koontz, PA                            PO Box 40578
Dallas TX 75265-0292                           PO Box 40578                                  Charleston SC 29423-0578
                                               Charleston, SC 29423-0578


Richard A. Steadman Jr.                        TOPGALLANT, LLC                               US Trustee’s Office
STEADMAN LAW FIRM PA                           610 Fairington Drive                          Strom Thurmond Federal Building
P O Box 60367                                  Summerville SC 29485-8675                     1835 Assembly Street
North Charleston, SC 29419-0367                                                              Suite 953
                                                                                             Columbia, SC 29201-2448

United Student Aid Funds, Inc (USAF)           Wells Fargo Auto Finance                      Wells Fargo Auto Finance
PO Box 8961                                    Attn: Bankruptcy                              Po box 29706
Madison WI 53708-8961                          Po Box 29704                                  Phoenix AZ 85038-9706
                                               Phoenix AZ 85038-9704


Wells Fargo Bank Card                          Wells Fargo Bank Ia N                         Wells Fargo Bank, N.A.
Mac F82535-02f                                 Mac-F8235-02f                                 PO Box 10438
Po Box 10438                                   Po Box 10438                                  Des Moines, IA 50306-0438
Des Moines IA 50306-0438                       Des Moines IA 50306-0438
                Case 17-01113-jw            Doc 49       Filed 07/06/20           Entered 07/06/20 15:33:35            Desc Main
Wells Fargo Bank, N.A.                               JamesDocument
                                                           M. Wyman          Page 5 of 5
Wells Fargo Card Services                            PO Box 997
PO Box 10438, MAC F8235-02F                          Mount Pleasant, SC 29465-0997
Des Moines, IA 50306-0438




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Portfolio Recovery Associates, LLC
POB 12914
Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)PRA Receivables Management, LLC                   (d)TopGallant, LLC                                   End of Label Matrix
PO Box 41021                                         610 Fairington Drive                                 Mailable recipients   31
Norfolk, VA 23541-1021                               Summerville, SC 29485-8675                           Bypassed recipients    2
                                                                                                          Total                 33
